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    FURTHER AFFIANT SAYETH NOT.




    SWORN AND SUBSCRIBED TO before me on this   .i.L day of April 2022.




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                                                                  Exhibit C
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